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                     EXHIBIT 15
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                                                                 Ryan Gordon <rgordon@advancinglawforanimals.org>



E.L. v. Lt. Fernandez, et al. - Meet and Confer
John Bridges <John.Bridges@doj.ca.gov>                                           Tue, Jan 30, 2024 at 12:29 PM
To: Ryan Gordon <rgordon@advancinglawforanimals.org>, Vanessa Shakib <vshakib@advancinglawforanimals.org>


 Hi Ryan and Vanessa,



 I am writing to meet and confer about the subpoenas for cell phone records that were served
 last week. I intend to file a motion to quash the subpoenas as they violate my clients' privacy
 rights. The subpoenas are overbroad as to time and content, and the documents they seek are
 irrelevant. I believe that we can come to a middle ground on the records, but I need to know
 exactly what you hope to find in the records. Are there any specific numbers in their call/text
 logs that you are looking for? The records were never requested in discovery, but we can
 produce them with the necessary redactions to address the privacy concerns while still
 disclosing any information that you believe is relevant to the case. However, if you don't know
 what numbers you are looking for in the logs, what is the purpose of seeking the records?



 Given that the records are to be produced early next week, please let me know by Thursday,
 February 1st, if we can agree to a limitation on the subpoena, or an agreement to produce the
 records through discovery after I have an opportunity to redact any information that may violate
 their privacy rights if disclosed.



 Thank you,

 John

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